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mr reory

AO 106 (Rev. 04/10) Application for a Search Warrant

UNITED STATES DISTRICT COURT

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; 0 fh Been
for the Wao ie Ant Lg

Southern District of Ohio

In the Matter of the Search of ) Heoichua ey CATION
(Briefly describe the property to be searched ) “Me -
or identify the person by name and address) ) Case nae i 5 ‘ain j 4 G i
» ¥ dong ™ 4 oF
1229 Sunnyview Avenue, Dayton, Ohio ° i
)

APPLICATION FOR A SEARCH WARRANT

I. a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):

See Attachment A

located in the Southern District of Ohio . there is now concealed identify the

person or describe the property to be seized):

 

See Attachment B

The basis for the search under Fed. R. Crim. P. 41(c) is ‘check one or more):
i evidence of a crime;
wo contraband, fruits of crime, or other items illegally possessed;
property designed for use, intended for use, or used in committing a crime;

© a person to be arrested or a person who is unlawfully restrained.

The search is related to a violation of:

Code Section Offense Description
18 U.S.C. s. 666 (theft or bribery concerning programs receiving federal funds

The application is based on these facts:

See Attached Affidavit of Special Agent Lance Kepple

Continued on the attached sheet.
O Delayed notice of _ days (give exact ending date if more than 30 days: ) is requested

 

under 18 U.S.C. § 3103a, the basis of which is set forth on the,attached sheet.

LEE.

Applicant's signature

Sworn to before me and signed in my presence.

pate: G-I4~ JS

City and state: Dayton, Ohio

 

 

 
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AFFIDAVIT dS 45m -~ 366
I, Lance R Kepple, being duly sworn, hereby state:
Ls

INTRODUCTION

Ls Iam a Special Agent (“SA”) with the Federal Bureau of
Investigation (“FBI”), United States Department of Justice,
Cincinnati Division. I have been employed as a Special Agent
with the FBI since September 1999. I have received training in
organized crime, fraud, drug trafficking investigations and have
participated in numerous related arrests and convictions,
related surveillance, investigations involving the distribution
of narcotics and conspiracy to distribute narcotics, money
laundering offenses, supervised the activities of informants who
have provided information and assistance which resulted in
seizures, arrests, and convictions. Based on my training and
experience, I am familiar with federal laws, and I am aware that
it is a violation of federal law to commit bribery of public
officials concerning programs receiving federal funds.
Additionally, I have received training in the investigation and

prosecution of public corruption offenses.
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Tt.

PURPOSE OF THE AFFIDAVIT

 

2. I make this affidavit in support of an application for
a warrant to search the following premises as there is probable
cause to believe that evidence cof a crime, contraband or fruits
of a crime, and property designed for use, intended for use, or
used in committing a crime - namely, violations of: 18 U.S.C. §
666 (theft or bribery concerning programs receiving federal

funds) - exists and can be found at the following location:

a. The residence located at 1229 Sunnyview Avenue,
Dayton, Ohio, including any garages, vehicles, storage lockers,
cabinets, sheds, closets or outbuildings at this location. 1229
Sunnyview Avenue, Dayton, Ohio is more fully described in
Attachment A, and Attachment A is incorporated herein by

reference.

3. This affidavit is intended to show that there is
sufficient probable cause for the above-described search warrant
and does not purport to set forth all of my knowledge of, or
investigation into, this matter. The facts and information
contained in this affidavit are based on my personal knowledge,
my training and experience, my interviews of various witnesses,

including law enforcement personnel who participated in the
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investigation, and my review of certain records, documents, and
audio-visual recordings. Moreover, the use of quotations to

describe conversations herein either identify the actual words of the

speaker or the interpretation of those words by law enforcement.

EIT;

ITEMS TO BE SEIZED

 

4, A list of the specific items to be seized from the
above-described premises is attached hereto as Attachment B, and

Attachment B is incorporated herein by reference.

Ss Based on my training and experience, as detailed
above, I believe that there is probable cause to believe that
the items listed in Attachment B will be found at the above-

described premises.

Iv.

SUMMARY OF PROBABLE CAUSE

 

A. Introduction

6. With a population of approximately 141,527 as of the
2010 United States Census, the City of Dayton is a local
political subdivision of the State of Ohio that receives
annually millions of dollars in funding from the United States.

For instance, based on information from the Ohio Auditor of
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State, during 2012, the federal government provided the City of
Dayton millions in federal funds, including: approximately $23
million from the United States Department of Housing and Urban
Development (“HUD”); approximately $19.8 million from the United
States Department of Transportation (“DOT”); and $2.6 million
from the United States Department of Justice. The United States
provided the city with an additional $28.8 million in funds
during 2013, including approximately $12.7 million from DOT and
$13.6 million from HUD. Although the Ohio State Auditor has
not released its audit of the City of Dayton for 2014, the City
Commission released a PowerPoint Presentation during January
2015 entitled: “Investing for Tomorrow: 2014 Investment
Highlights City Manager’s Recommended 2015 Investment Plan.”
According to this presentation, during 2014, the City of Dayton
received approximately $4.7 million in federal grants and $1.4
million from HUD. During 2015, the presentation estimates that
the City of Dayton will receive $10.25 million in federal grants
and $1.8 million from HUD. Moreover, based on my training and
experience, I know that city government’s such as Dayton

annually receive federal funding exceeding $10,000.

Ts Based on publicly available information, including the
City of Dayton’s own public website, a City Commission comprised

of five members -- namely, the mayor (currently, Nan Whaley) and
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four elected commissioners (currently, Joey Williams, Dean

Lovelace, Matt Joseph, and Jeffrey Mims) -- governs the City of
Dayton.
8. CityWide Development Corporation (“CityWide”) is a

non-profit entity that constitutes a component of the City of
Dayton. According to the publicly available Independent
Auditor’s Report of the City of Dayton, prepared by Plattenburg
& Associates, Inc., for the audit period January 1, 2013 through
December 31, 2013, CityWide:
was established in 1972 as a private, non-profit
development organization which supports the City in a
number of ways - primarily as its development financing
arm. CWDC's relationship with the City is established via
its stated mission: fostering economic development through
creating and retaining jobs for City residents, providing
administrative support to assist in neighborhood
development, increasing tax revenues, and improving the
Dayton area economy. Because the City appoints all members

of CWDC's Board of Trustees and is empowered to remove them
at will, CWDC is a component unit of the City.

CityWide’s public website further elaborates on its mission for
the City of Dayton. In particular, “[o]ver the past three
decades, CityWide has helped hundreds of businesses expand,
renovate or open in Dayton. .. . CityWide has also
participated in many programs and projects designed to
strengthen Dayton’s neighborhoods. These have involved the
financing of the construction of new homes, the renovation of
older homes and general home improvements.” Given its role,

CityWide routinely awards thousands of dollars in contracts to

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private companies for the demolition of certain homes within the

limits of the City of Dayton.

9. During early 2013, the FBI began investigating
allegations that a Dayton-area businessman not only had engaged
in fraud but also had bribed local officials in exchange for
receiving federally funded demolition contracts in the Dayton
metropolitan area. While investigating this matter, the FBI
developed two Confidential Human Sources (“CHS”), identified
hereinafter as CHS-5 and CHS-8. Operators of a private
demolition company in the Dayton metropolitan area, CHS-5 and
CHS-8 have proven reliable and have provided accurate, truthful
information to the FBI in the past. For instance, the FBI has
been able to verify from independent sources various statements
and information that it has received from CHS-5 and CHS-8. It
should be noted that CHS-5 and CHS-8 both have agreed to
cooperate with the FBI in part to minimize their individual
exposure to potential criminal charges for their respective
roles in a scheme to defraud local government entities. CHS-8
has sustained no criminal convictions. CHS-5 has been convicted
of misdemeanor offenses in the state of Alaska during the 1980s.
Additionally, CHS-5 and CHS-8 have received monetary payments

from the FBI.
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B. CHS-5 Meets City of Dayton Commissioner Joey Williams
10. During August 2014, Brian Higgins -- a local
businessman in the Dayton area -- represented to CHS-5 that he,

Higgins, had access to various City of Dayton officials. In

particular:

a. During that month, Higgins requested that CHS-5
complete a repair estimate in connection with an insurance claim
on damages at Higgins's personal home. While preparing this
estimate in mid-August 2014, CHS-5 and Higgins engaged in a
conversation concerning the demolition business. While doing
so, Higgins volunteered that he had contacts with various
government officials, including Mayor Nan Whaley and City
Commissioner Joey Williams. Higgins indicated that, given his
access to these officials, he could help CHS-5‘s business.

b. On or about August 19, 2014, CHS-5 provided
paperwork to Higgins related to the insurance claim. Around
this time, Higgins requested that CHS-5 become the general
contractor on the repair work at Higgins's house; Higgins
indicated that he wanted CHS-5 to complete only a portion of the
work and provide the remainder of the insurance funds to
Higgins. In pitching this idea to CHS-5, Higgins again
reiterated that he could introduce CHS-5 to City Commissioner

Joey Williams and other government officials; Higgins again
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indicated that these introductions could help CHS-5'’s demolition
business.

lil. Consistent with his representations, during late
August 2014, Higgins arranged two separate meetings between City
of Dayton Commissioner Joey Williams and CHS-5. In particular:

a. During the first meeting, which was generally
social in nature, Higgins introduced CHS-5 to Williams. During
the second meeting, however, Higgins and Williams pitched CHS-5
to invest in a restaurant with them. Williams indicated that
his name would have to stay off any paperwork for the proposed
venture to avoid conflicts of interest with the City of Dayton.
(Around this time, CHS-5’s business had been attempting to bid
on City of Dayton contracts). To that end, Williams suggested
that he would use his wife's name on any documents concerning
the proposed restaurant. Ultimately, CHS-5 declined to invest

in the venture.

b. Between this first and second meeting, CHS-5
engaged in a series of consensually recorded conversations with
Higgins concerning Williams. During these discussions, Higgins
advised CHS-5 to keep Williams close as Williams could provide
valuable information to CHS-5. Higgins further told CHS-5 that
a time would come when CHS-5 would have to pay Williams and

that, when that moment occurred, CHS-5 better not hesitate in
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making the payment. In that vein, Higgins explained that he
believed that a Dayton businessman who had received numerous
contracts from the City of Dayton had paid for Williams's

Cadillac.

Cc. CHS-5 Seeks Assistance from Williams in an Effort to Obtain
Contracts with the City of Dayton.

 

 

12. During late summer 2014, CHS-5, through his business,
submitted what was later determined to be the lowest bid for a
demolition contract with City of Dayton (hereinafter “Pending
Contract”). During mid-January 2015, an employee from the City
of Dayton advised CHS-5 that his company would not be awarded
the demolition contract even though it had submitted the lowest

bid on the project.

13. Shortly thereafter - namely, on or about January 20,
2015 - CHS-5 participated in a consensually recorded call with
Higgins. When CHS-5 apprised Higgins that CHS-5'’s business had
not been awarded the city contract, Higgins indicated that CHS-5
should speak to Williams. (To that end, Higgins ultimately sent
a text message with Williams’s contact information to CHS-5).
Higgins further represented that he would apprise Williams of
the forthcoming contact from CHS-5. Using the contact
information that he had received from Higgins, CHS-5 called
Williams, and they agreed to meet one another for breakfast on

January 23, 2015.
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14. On or about January 23, 2015, CHS-5 participated ina
consensually recorded meeting with Williams at a restaurant in

Dayton, Ohio. During their ensuing discussions:

a. CHS-5 explained to Williams that he (CHS-5) and
his business were having difficulties securing contracts with
the City of Dayton. After reiterating that his company had
submitted the lowest bid on a recent contract, but still had not
received it, CHS-5 suggested that one of his competitors may
have supplied negative information about his business to the

City of Dayton.

b. As their conversation shifted to several general
topics, CHS-5 mentioned in passing that he also operated a
drywall company. Soon thereafter, Williams indicated that he
had a home improvement project that he needed to complete at his
personal residence. Stating that he wished to enclose a covered
patio at his home, Williams proceeded to draw a sketch of the
proposed project. Williams then wrote his address on the sketch
and provided the drawing to CHS-5. CHS-5 indicated that he

could handle Williams’s project.

é. After opining on the federal money that flowed
into the City of Dayton, Williams stated that he would work on
CHS-5’s problem and contact a city employee, Crosby. (Based on
my familiarity with this investigation as well as my review of

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subsequent conversations between CHS-5 and Williams, I believe
that Williams was referencing Catherine “Caty” Crosby, the
executive director of a City of Dayton component known as the
Human Relations Council.) Before the meeting ended, CHS-5
showed paperwork to Williams and indicated that CHS-5 had
received these documents, one of which was a confidential City

of Dayton paper, from a city employee.

15. On or about January 23, 2015, following the breakfast
meeting, Williams called CHS-5. This telephone conversation was
not recorded. During the call, Williams advised that he was
working on CHS-5’s problem with the City of Dayton. He further
admonished CHS-5 to keep their conversations in strict

confidence.

D. At Williams’s Direction, CHS-5 Begins Work on Williams’s
Home Improvement Project at a Substantial Discount.

 

16. On or about January 28, 2015, during a consensually
recorded telephone conversation, Williams and CHS-5 again
discussed CHS-5'’s problems with the City of Dayton as well as

Williams’s proposed home improvement project. In particular:

a. Williams indicated that he had spoken to Caty
(i.e., Catherine Crosby) and would soon meet with the city

manager concerning CHS-5’s issues with the City of Dayton.

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According to Williams, it appeared that the City of Dayton was

denying contracts to CHS-5 without any documented reason.

b. After CHS-5 indicated that he had stopped at
Williams’s home and taken measurements for the project discussed
during their breakfast meeting, Williams indicated that, while
he liked a deal, the CHS-5’s situation with the City of Dayton
was messy. Williams then inquired whether CHS-5’s business or
some other entity would perform the home improvement project at
his (Williams's) home. When CHS-5 advised that the work could
be performed under the name of another entity, including a
company that belonged to Higgins, Williams responded that he
wanted to keep things separate (i.e., he did not want CHS-5 and
Higgins knowing about each other’s respective dealings with
Williams). Williams tacitly explained that, given his position,
his actions were watched. Williams then informed CHS-5 that he
(Williams) disliked having received a recent text message from
Higgins in which Higgins expressed knowledge that CHS-5 was
performing some work for Williams. Williams reiterated that he

was paranoid and liked to keep his dealings quiet.

co. Williams again explained that he planned to work
on CHS-5’s problems with the City of Dayton. When CHS-5

indicated that he would have the plans for the proposed home

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improvement project completed soon, the men agreed to meet at

Williams’s home on Friday (i.e., January 30, 2015).

17. On or about January 30, 2015, CHS-5 participated in a
consensually recorded meeting with Williams at Williams’s
residence - namely, 1229 Sunnyview Avenue, Dayton, Ohio. During

this meeting:

a. Williams explained that he had spoken to the City
of Dayton’s Assistant City Manager, Shelly Dickstein, and that
she had provided him with specific information concerning
negative feedback that the city had received concerning CHS-5’s
company. Williams indicated that Dickstein planned to talk to
CHS-5 concerning the matter at a meeting that also may include
Caty Crosby, or someone else from the Building Services Group.
Williams advised that he was aware of a similar situation that
had occurred with another business and that, after meeting with
City of Dayton officials, the company was able to obtain some
contracts with the city. Williams questioned why the City of
Dayton just did not meet with a company as a step in the process
(i.e@., attempting to address the negative feedback) and would do

so only after a commissioner became involved with the issue.

bs The two men then discussed William’s home
improvement project. Williams explained that, from his
perspective, he already had mentioned his home improvement

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project to CHS-5 before CHS-5 had broached his inability to
obtain contracts with the City of Dayton. Williams stated that
he would have “some cover” if they already had discussed his
(Williams's) project (i.e., before they discussed CHS-5’s
problems obtaining contracts the City of Dayton). Williams
indicated that the matter should never come up, but if, in the
event that it did, he (Williams) would always say that they had

already talked about his (Williams’s) project first.

e.. Williams then asked CHS-5 how much his home
improvement project would cost if he were not receiving the
“friendly deal for Williams’ house.” In response, CHS-5
explained that, if CHS-5 did not complete the project at CHS-5'’s
cost, the improvements would run Williams between $22,000 and
$23,000. Williams responded: “Okay.” Williams explained that,
on a previous occasion, he had received an estimate ranging from
$5,000 to $15,000 to complete the project, but conceded that

CHS-5 would be performing more work than the previous plans.

d. CHS-5 then referenced an item in Williams’s home
that appeared to be expensive. Williams responded: “Well, you

know I have friends.”

e. Returning to the home improvements, Williams
indicated that he had believed that the job would cost from
$7,500 to $10,000 and, as such, wanted to talk to his wife

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before proceeding. Williams also stated that he wanted to

think over what was fair and what made sense.

f. The discussion then turned to who should know
about CHS-5’s potential work as Williams’s home. When CHS-5
suggested that there should not be any paperwork on the project,
Williams replied: “Um huh.” CHS-5 then indicated that they (he
and Williams) should probably keep their dealings private.

Williams responded: “Great.”

q. Williams once more reiterated that he wanted the
City of Dayton to be fair with CHS-5. He indicated that the
City of Dayton should provide CHS-5 an opportunity to fix the
alleged problems with his company so CHS-5’s company could have

a shot at some business with the City of Dayton.

18. On or about February 18, 2015, CHS-5 participated in a
consensually recorded meeting with Williams at Williams’s
residence - namely, 1229 Sunnyview Avenue, Dayton, Ohio. During
this meeting, Williams accepted a substantially discounted price
for the home improvement project and, in return, agreed to
continue to assist CHS-5 address his problems with the City of

Dayton. More precisely:

a. CHS-5 presented Williams with two proposed

invoices. Invoice #1 totaled approximately $23,000, including

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$8,500 for labors costs with the remaining balance largely
reflecting the use of high end materials. Invoice #2 totaled
approximately $19,000, once more including $8,500 in labor costs
with remaining balance reflecting the use of standard materials.
Placing Invoice #1 and Invoice #2 before Williams, CHS-5
detailed the differences in each potential proposal - namely,
the quality of the materials. Pointing only to the cost of
materials on the invoices, CHS-5 explained that Williams only
would have to pay for that portion of the project. Directing
Williams’s attention to the cost of labor - namely, $8,500 -
CHS-5 indicated that was what he was able to do for Williams
(i.e., what CHS-5 was willing to provide to Williams for free).
CHS-5 stated: “I'll go any way you want to go.” Williams then
pointed to the cost of materials on Invoice #2 and replied: “I
like the sound of this.” CHS-5 advised Williams that Williams
should not “beat himself up” for helping CHS-5 because CHS-5’s

company was doing well.

b. The discussion then shifted once more to CHS=-5's
issues obtaining contracts with the City of Dayton. Williams
explained that CHS-5 would hear from someone at the city soon.
When CSH-5 indicated that, “if it’s going to happen, it will,”
Williams replied: “It’s gonna happen.” Williams informed CHS-5

that he (Williams) had been in contact with Caty Crosby and

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Shelly Dickstein. Williams explained that Crosby, whom he

identified as a good friend of his wife and him, worked on the
Human Relations Council.’ Williams then expanded on the role
that the Human Relations Council played in the bidding process

on contracts with the City of Dayton.

Cc. As their conversation progressed, Williams
indicated that he had been apprised of allegations that CHS-5
had bribed someone in the past. More precisely, Williams
explained that, in confidence, Shelly Dickstein had advised him
that CHS-5 had been accused of bribery on a previous job
(presumably in relation to a government contract). Williams
indicated that he wished CHS-5 to be aware of the allegation.
In response, CHS-5 explained that he “grew up in the . . . world
[of a businessman in Dayton long rumored to have bribed public
officials], and I know what it takes to make a business grow.”
Tacitly admitting the truth of Dickstein’s allegation, CHS-5
advised Williams: “I’m not saying that didn’t happen.”
Williams replied: “We [i.e., public officials] are all so

paranoid now.”

 

' According to the City of Dayton’s public website, the Human
Relations Council is a subdivision within the city’s government
that reports directly to the City Commission. As detailed on
the website, the Human Relations Council serves many functions,
including: “provid[ing] business and technical assistance to
minority-owned, woman-owned and small disadvantaged businesses.”

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d. Once more, CHS-5 again informed Williams of the
price of the project, excluding the cost of labor. When
Williams advised CHS-5 to let him know if he needed a money
draw, CHS-5 responded that it was up to Williams whether to put
money down on the project. CHS-5 indicated that he would begin
work on the project in roughly three weeks. Williams and CHS-5

agreed to generate no paperwork for the deal.

e. As the meeting concluded, CHS-5 thanked Williams
for his efforts in resolving CHS-5’s issues obtaining contracts
with the City of Dayton. Williams confirmed that CHS-5 shortly
would receive a call from the City of Dayton; Williams explained
that he intended to “casually” ask Crosby about it. When CHS-5
once more referenced the Dayton-area business man long rumored
to have bribed public officials, Williams responded that the
businessman had been successful because the businessman had a

“friend, McLin (i.e., former City of Dayton Mayor Rhine McLin).
Williams advised CHS-5: “You got a friend too.”
E. While Continuing to Receive Substantial Benefits from CHS-

5, Williams Exerts His Influence with the City of Dayton in
an Effort to Obtain Contracts for CHS-5'’s Business.

 

 

19. Over the next several months, CHS-5 and his company
worked on the improvement project at Williams’s home.
Throughout this time, Williams repeatedly made requests for CHS-

5 to perform additional work on his residence, adding thousands

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of dollars in expenses to the original home improvement project.
Williams also continued to make assurances to CHS-5 that CHS-5's
company would ultimately obtain contracts with the City of

Dayton.

20. For instance, on or about April 2, 2015, CHS-5
participated in a consensually recorded meeting with Williams at
Williams’s residence - namely, 1229 Sunnyview Avenue, Dayton,
Ohio. During this meeting, Williams confirmed his efforts to
obtain contracts with the City of Dayton for CHS-5’s business.

Most notably:

a. CHS-5 inquired if Williams had spoken to Crosby
concerning CHS-5's issues obtaining contracts with the City of
Dayton. In CHS-5’s presence, Williams sent a text message to
Crosby asking if she was available to speak with him; Williams
also telephoned Crosby, but the call went to her voicemail.
During this process, CHS-5 explained to Williams that CHS-5 was
curious concerning what Crosby had to say about the prospects of

CHS-5"s company obtaining business with the City of Dayton.

Dis Soon thereafter, Williams received an incoming
telephone call from Crosby. (Notably, Williams instructed CHS-5
to remain quiet). Answering the call and placing it on
speakerphone, Williams ultimately had the following exchange
with Crosby:

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WILLIAMS:

CROSBY:

WILLIAMS:

CROSBY:

WILLIAMS:

 

I just wanted to follow-up with you, about
three or four weeks ago or maybe even longer
now, I had talked to you about that one
company, [CHS-5’s company]. And, I think
you had put RoShawn? on that. I was
wondering how, how’s that coming along, is
he, are they making some progress?

Yeah, I need to touch base with RoShawn but
what we ended up with is that they were
supposed to send us a list of all of their
projects and then we were going to do a
survey to get the feedback from the project
owners. And then where we found there were
deficiencies we’d create a technical
assistance plan. Um, we would create a
technical assistance plan to work on those
deficiencies. I don’t believe that they
have, um, I don’t think they’ve sent that
information over yet. Um, and then the other
thing is RoShawn came to me this morning
because, um, Shelly was going to talk to
Citywide about some of the smaller projects
that they have, um, and see if we can
connect, um, see if we connect [CHS-5’s
company] and Citywide, so they can get some
experience to develop a reputation to work
on our smaller projects. But those were the
two things that were supposed to, um, be
doing. And, I know that RoShawn, he
actually left me a message this morning
asking if Shelly had talked to Citywide, um,
and I know she has not talked to Citywide.
Bue,

Well, stay on her. If I need to jump in you
let me know. Shelly has another thing she’s
supposed to do for mé on another issue. So,
I hope Shelly isn’t starting to fuck up.

Okay.

I appreciate that, just keep me informed.

Based on my familiarity with this investigation, Williams was referring to
RoShawn Winburn, an employee of the Human Relations Council. It should be
noted that Winburn had solicited bribe payments from CHS-5 in an exchange for
his efforts to influence, among other things, the awarding of contracts with

the City of Dayton.

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c. After the call ended, CHS-5 thanked Williams for
his assistance. Williams replied: “Yeah, let’s get it going.”
Williams further indicated his happiness that Crosby was

“already on the case when I called her.”

21. On or about, April 6, 2015, CHS-5 participated ina
consensually recorded meeting with Williams at Williams’s
residence - namely, 1229 Sunnyview Avenue, Dayton, Ohio. During

this meeting, Williams and CHS-5 discussed the cost of, and

payment for, the now-expanded project at Williams’s home. In
particular:
a. Williams provided CHS-5 a check in the amount of

$6,000 - the only monetary payment that Williams ultimately
would give to CHS-5 for his work at Williams’s house. CHS-5
explained however, that, with Williams’s requested additions to
the project, the cost of services and materials now exceeded
$40,000. In response, Williams offered to pay a total of only

$11,000 for the project.

b. Williams then proposed that he and CHS-5 settle
through a trade the remaining $5,000 (i.e., $11,000 less the
$6,000 check). More precisely, Williams indicated that he would
give CHS-5 a designer cat house (a picture of which is attached
hereto as Attachment C) and, in return, receive a $5,000 credit
towards his remaining payment. Williams explained that he had

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acquired the cat house for $1,000 at a charity auction, but
opined that it may have been worth up to $10,000. CHS-5 agreed

to Williams’s request and accepted the cat house as payment.

22. On or about April 10, 2015, CHS-5 received a telephone
call from a CityWide employee who identified herself as Nicole
Steele concerning CHS-5’s business performing work for this arm

of the City of Dayton. In particular:

a. During the conversation (which CHS-5 did not
record because he was unfamiliar with the incoming telephone
number), Steele advised that someone high up in the City of
Dayton had recommended CHS-5’s company for a potential project
with CityWide. When CHS-5 inquired who had recommended his
company, Steele declined to identify the person. Steele
proceeded to explain that CityWide was potentially interested in
hiring CHS-5’s company for a demolition project involving three
properties on Salem Avenue in Dayton, Ohio. CHS-5 and Steele

agreed to meet later in the day at the proposed demolition site.

b. Shortly after receiving the telephone call, CHS-5
proceeded to Williams’s residence, where he spoke with Williams.
During their ensuing conversation, CHS-5 advised Williams
concerning the call from CityWide. Thanking Williams for taking
care of him, CHS-5 indicated that he knew that Williams had

prompted the call. Acknowledging his role in the process,

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Williams responded that he knew everything would come together.
It should be noted that CHS-5 attempted to record this
conversation, but, unbeknownst to him, the recording device

malfunctioned.

c. After speaking with Williams, CHS-5 met with
Steele, the CityWide employee, at the proposed demolition site.
While there, they discussed CHS-5’s business performing the

potential project for this component of the City of Dayton.

23. On or about April 28, 2015, CHS-5 participated in a
consensually recorded meeting with Williams at Williams’s
residence - namely, 1229 Sunnyview Avenue, Dayton, Ohio. During

this meeting, CHS-5 provided $10,000 in cash to Williams so that

Williams could pay the subcontractors working on his home. In
particular:
a. CHS-5 used a number of sub-contractors to

complete various aspects of Williams’s home improvement project.
CHS-5 and Williams agreed that, to create the appearance that
William was paying for the project, Williams (not CHS-5) should

hand deliver to the subcontractors any payments for their work.

b. Consistent with that understanding, CHS-5
delivered $10,000 in cash to Williams, which, in turn, Williams

had agreed to use to pay the subcontractors working on his

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house. When providing the cash to Williams, CHS-5 explained the
amount of money that Williams should give each subcontractor.
Williams accepted the money, which he ultimately used to pay

various subcontractors working at his residence.

24. On or about May 4, 2015, CHS-5 participated in a
consensually recorded telephone conversation with Williams
concerning Wiliams’s efforts to obtain work for CHS-5'’s business

with the City of Dayton. During this conversation:

a. CHS-5 informed Williams that a city employee,
Roshawn Winburn, had called CHS-5 and advised CHS-5 that city
officials planned to meet concerning CHS-5’s business. Williams
stated that CHS-5 already knew about what they (i.e., the city
officials) wanted to talk. Williams explained his belief that
someone had “sabotage[d]” CHS-5’s business with the City of
Dayton and that he, Williams, wanted city officials to know this

fact.

b. CHS-5 advised that he again had received a call
from Nicole Steele of CityWide. Although expressing his
pleasure that someone from CityWide had contacted CHS-5,
Williams indicated his surprise that Steve Budd (the President
of CityWide) had not called CHS-5 personally. Williams
explained that he had “good conversation” with Bub (i.é., a
discussion with Budd indicating that CHS-5 business’s needed

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work with the City of Dayton). Near the conclusion of his
conversation with CHS-5, Williams stated: “Think we’re doing

right thing.”

25. On or about May 11, 2015, CHS-5 participated ina
consensually recorded meeting with Williams at Williams’s
residence - namely, 1229 Sunnyview Avenue, Dayton, Ohio. During
this meeting, CHS-5 provided $3,100 in cash to Williams so that
Williams could pay the subcontractors working on his home. More
precisely, the men had agreed that, to create the appearance
that William was paying for the project, Williams (not CHS-5)
should hand deliver to the subcontractors any payments for their
work. Consistent with that understanding, CHS-5 delivered
$3,100 in cash to Williams, which, in turn, Williams had agreed
to use to pay the subcontractors working on his house. When
providing the cash to Williams, CHS-5 explained the amount of
money that Williams should give each subcontractor. Williams
accepted the money, which he ultimately used to pay various

subcontractors working at his residence.

26. On or about May 21, 2015, CHS-5 participated ina
consensually recorded telephone call with Williams during which
they discuss the City of Dayton, through CityWide, awarding a

contract to CHS-5 business. In particular:

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a. During their discussion, Williams stated: “I
just wanted to let you know that I talked to um, talked to her
[i.e., given the context of the call, likely Shelley Dickstein]
last night, or at the meeting and um, she said that there was a
um, there’s nothing been done yet and it’s going to due
diligence.” Williams then explained that he questioned
Dickstein concerning the delay, stating: “I asked her does it
usually take this long, I said it seems surprising to me that
you're still working on this.” Williams indicated that, in
response to his entreaties, “she just smiled and said we’re
working on it.” Williams offered his interpretation of the
smile, stating: “And I don’t know if that’s her way of saying,
you know that she trying to make sure things are going to go how

I want or what. We’ll see.”

b, After listening to Williams, CHS-5 revealed that
he just had received a call from Steele in which Steele on
behalf of CityWide formally hired CHS-5’s company to perform the
Salem Avenue demolition project. Williams can be heard clapping
on the telephone call. Williams then stated: “That’s me
clapping, I’m really happy to near that, good. That’s why she
probably smiled. She probably, she probably knew that and
didn’t want to say it she wanted to, cuz I asked her what’s

going on with the projects.”

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Cis In response, CHS-5 again thanked Williams,
stating: “I appreciate ‘em buddy. You don’t know, you don’t
even know. It means a lot to me, means a lot to me.” Williams
advised CHS-5: “Go in there and kick ass on the job.” CHS-5
told Williams not to worry and that he, CHS-5 would make
Williams “look good.” Concluding the conversation, Williams
stated: “Well, I’m just, I’m just happy that you got the

opportunity.”
F. Williams Demands That CHS-5 Prepare a Fraudulent Invoice,

Falsely Reflecting that Williams Paid for the Home
Improvement Project.

 

27. On or about June 18, 2015, CHS-5 participated in a
consensually recorded meeting with Williams at Williams’s
residence - namely, 1229 Sunnyview Avenue, Dayton, Ohio. In

particular:

a. CHS-5 mentioned that, while working for a Dayton-
area business owner, CHS-5 learned that the business owner had a
relationship with former Dayton Mayor Rhine McLin. Intimating
that the relationship involved bribes, CHS-5 stated that he
likely knew more about the interactions between the businessman
and McLin than did Williams. Williams agreed, stating: “You

probably know more about it than I do.”

Dis As the conversation progressed and touched on a

lunch meeting that had occurred the preceding week among

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Williams, CHS-5 and CHS-8, Williams stated: “Um, yeah, so I
don't know. We got to talk about that. I wasn't comfortable
WEE. thet. (During the lunch meeting, CHS-8 indicated that
CHS-5’s company would need millions of dollars in City of Dayton
contracts to make up for the money that CHS-5 had spent on
Williams’s home improvement project). When CHS-5 indicated that
he was sorry for CHS-8’s comments, Williams stated: “It's not

something . . . I've never done something like that.”

Cs After CHS-5 explained that he and Williams had
made things happen together, Williams stated: “As God is my
witness though, there is nothing I have done for you .. . that
I wouldn't have done had we never talked about this, I just want

f

you to know that.” Williams expounded: “Just so you know, I
have been doing this for 14-15 years, I have never accepted a
thing. And... .uh. .. the only reason I did this is, I

didn't realize what I was agreeing to when we started and it

kind of blew up, and I said ‘Fuck it.’”

d. Williams then explained: “I Just want to have
I just want a good conscience, myself. I am a Christian and I
like to do things the right way. I don't want to have any
even . . . thoughts that I am doing something that I really
shouldn't do. I'm also not perfect, I'm a Sinner too. I'm not

perfect.”

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e. Williams then instructed CHS-5 as follows: “Also
when we finish this thing, I need something that says paid in
full, and you need to write it up for 35, 40 thousand dollars.
Something that is within the ballpark what a deal like this
would cost.” When CHS-5 indicated that he would comply with
Williams’s request, Williams stated: “I want to make sure there
is a paper trail and you never know, shit happens and you

increase it. One day, you and CHS-8 could get pissed at me.”

28. On or about June 30, 2015, CHS-5 participated in a
consensually recorded meeting with Williams at Williams's
residence - namely, 1229 Sunnyview Avenue, Dayton, Ohio. During
this meeting, consistent with Williams’s request, CHS-5
presented Williams with a fraudulent “paid in full” invoice.
More precisely, this invoice correctly reflected the total cost
-- namely, $56,750.17 -- of the home improvement project at
Williams’s residence, including Williams’s repeated requests for
CHS-5 and his company to perform additional free work at the
house. This documented also properly reflected the lone payment
of $6,000 in the form of a personal check that Williams paid to
CHS-5 for the project. However, to satisfy Williams’s demand
for a fictitious paid in full receipt, the invoice falsely

represented that Williams had made a payment of $50,750.17 to

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CHS-5 business on June 1, 2015. Williams accepted the paid in

full invoice at his residence.

G. While Exploring the Possibility of Creating a Drywall
and/or Home Construction Business, Williams Acknowledges
to CHS-5 that He, Williams, Accepted a Cash Payment from a
Businessman in Dayton.

 

 

29. Throughout August and September 2015, Williams had
multiple telephonic and in person conversations with CHS-5
concerning Williams’s efforts to create either a drywall or home
construction business that could obtain certification as a
disadvantaged business, such as a State of Ohio Minority Business
Enterprise (“MBE”). (Based on my training and experience, I know that
certain federal, state, and local contracts require that a
disadvantaged business participate in the project). Throughout these
conversations, Williams indicated his knowledge that his ownership of
a business that attempted to obtain business with the City of Dayton
constituted a conflict of interest. As such, Williams repeatedly
explored the possibility of placing the business in another

individual’s name.

30's On or about August 4, 2015, as part of this process, CHS-5
participated in a consensually recorded meeting at Williams’s home -
namely, 1229 Sunnyview Avenue, Dayton, Ohio. During this
conversation, Williams discussed apparent bribes that a Dayton
area businessman had provided to public officials, including

him. (It should be noted that the Dayton businessman is the

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same businessman referenced earlier in this affidavit). More

precisely:

a. Williams told CHS-5 that a Dayton businessman had
given him money for campaign contributions. Williams explained
to CHS-5 that $500 was the ideal, single contribution and that
he did not like to accept any more than that amount from a
Single campaign contributor. Williams indicated that the Dayton
businessman had his friends and employees contribute money

(i.e., the $500 amount) to Williams’s campaign.

bi Williams then explained that, on one occasion,
the Dayton businessman had given Williams an envelope containing
$1,000 in cash. Williams indicated that, after three or four
days, he had given the money back to the businessman because he
(Williams) did not feel comfortable keeping it. It should be
noted that a confidential source (identified hereinafter as CHS-
7), who has proven reliable in the past, previously had advised
the FBI concerning this incident, but with slightly different
details. In particular, according to CHS-7, the Dayton
businessman had given Williams a single $5,000 cash payment
within the last several years. CHS-7 explained that Williams
had attempted to return the money only after Williams learned
that the Dayton businessman may have video recorded the payment.

According to CHS-7, the Dayton businessman refused to accept the

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money back from Williams and that Williams ultimately kept the

bribe payment.

Ex. Before the meeting ended, Williams began to
discuss fallout from a dispute between the Dayton businessman
and the City of Dayton. CHS-5 stated that he had heard that the
Dayton businessman had donated thousands of dollars to the
Mayor’s campaign (i.e., current City of Dayton Mayor Nan
Whaley). Williams indicated the Dayton businessman had donated
maybe $50,000 to her campaign and $25,000 that never made it in

the campaign.

31. Based on my training and experience, as well as
discussions with other agents, I know that the following items
often are kept at the residences of individuals (including
Williams) who accept bribes and other payments in exchange for
attempting to influence the decisions of their government

agencies:

a. The actual goods or payments that the individual
received in exchange for attempting to influence the decisions
of their government agencies. For instance, in this case,
Williams received thousands of dollars in home improvements,
which still exist and can be found throughout this residence.

Because the home improvements cannot be physically seized, it

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often proves crucial for investigators to obtain photographic

evidence of the benefits that an individual accepted.

b. Ledgers, books, spreadsheets, journals or other
records documenting payments received, services provided, or
other benefits that an individual has accepted in exchange for
attempting to influence the decisions of his or her government

agencies;

Gs Invoices, receipts, plans, drawings, brochures or
other documentation concerning, reflecting, or relating to, the
home improvement project that CHS-5 completed at Williams's

residence, including payments to subcontractors;

Gs Any documentation, including e-mails, text
messages, letters, reflecting any communications between
Williams and any City of Dayton employee or officials, including
City of Dayton component CityWide, concerning CHS-5’s company or

GHS-)).

e. Telephone (both landline and cellular) records,
inciuding, but not damited to, billing anftormation, toll
records, identity of service providers, and form of payment for
these services. Based on my training and experience, these
records, which individuals routinely keep at their home, confirm

the telephonic contact between Williams and CHS-5.

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Additionally, such records confirm contacts between Williams and
City of Dayton officials; similarly, this type of documentation
also establishes potential patterns of contact between Williams

and other individuals who may be making payments to him.

Ts Bank statements, credit card statements, tax
records, check ledgers, or any other financial record reflecting
income, spending patterns, purchases, cash transactions, etc.
Such records, which individuals routinely keep at their
residence, help investigators identify unusual sources of income
or expenditures as well as unexplained wealth indicative of

criminal activity, including accepting bribe payments.

g. Bulk cash ($500 or more). Based on my training
and experience, individuals often solicit or accept bribe
payments in the form of cash as U.S. currency often proves

difficult to trace.

h. Contact lists, address books, rolodex that

identify persons with whom Williams has contact.

do City of Dayton documents, including, but not
limited to, rules of conduct for employees or city officials,
bid proposals on city contracts, information concerning past,

pending, or future contracts or bids for city projects or work.

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j- Records, receipts, binders, photographs, or any
documentation of any work (including but not limited to,
repairs, construction, painting, demolition or other home

improvements) performed at 1229 Sunnyview Avenue, Dayton, Ohio.

k. Documentation or records reflecting indicia of

ownership and occupancy at 1229 Sunnyview Avenue, Dayton, Ohio.

i Documentation concerning any business entities or

ventures that could potentially generate income for Williams.

m. Keys to, records for, or documents concerning
safe deposit boxes or storage facilities. I know that
individuals often keep illicitly obtained money or goods in

secure locations.

32. Based on my training and experience, I also know that
individuals who accept bribe payments often perform research on
the internet through search engines such as Google and Yahoo!
concerning the person or entity from whom they are accepting a
bribe payment or other benefit. Individuals do so in an effort
to determine the wealth of the person from whom they are
accepting a bribe as well as to confirm that the person is not
working for law enforcement. Additionally, individuals often
use the internet to confirm that value of the items that they

are receiving as a bribe payment. Finally, I know that, in this

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modern era, individuals often maintain the records and
documentation described above in Paragraph 31 in electronic
format on computers, smart phones, tablets, and other electronic
storage devices. For instance, individuals often maintain

electronic ledgers of payments, expenditures, etc.

33. More precisely, as described above and in Attachment
B, this application seeks permission to search for records that
might be found on the premises, in whatever form they are found.
One form in which the records might be found is data stored on a
computer's hard drive or other storage media. Thus, the warrant
applied for would authorize the seizure of electronic storage
media or, potentially, the copying of electronically stored

information, all under Rule 41(e) (2) (B).

a. I submit that if a computer or storage medium is
found on the search premises, there is probable cause to believe
those records will be stored on that computer or storage medium,

for at least the following reasons:

(1) Based on my knowledge, training, and
experience, I know that computer files or remnants of such files
can be recovered months or even years after they have been
downloaded onto a storage medium, deleted, or viewed via the
Internet. Electronic files downloaded to a storage medium can

be stored for years at little or no cost. Even when files have

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been deleted, they can be recovered months or years later using
forensic tools. This is so because when a person "deletes" a
file on a computer, the data contained in the file does not
actually disappear; rather, that data remains on the storage

medium until it is overwritten by new data.

(2) Therefore, deleted files, or remnants of
deleted files, may reside in free space or slack space-that is,
in space on the storage medium that is not currently being used
by an active file-for long periods of time before they are
overwritten. In addition, a computer's operating system may
also keep a record of deleted data in a "swap" or "recovery"

file.

(3) Wholly apart from user-generated files,
computer storage media-in particular, computers' internal hard
drives-contain electronic evidence of how a computer has been
used, what it has been used for, and who has used it. To give a
few examples, this forensic evidence can take the form of
operating system configurations, artifacts from operating system
or application operation, file system data structures, and
virtual memory "swap" or paging files. Computer users typically
do not erase or delete this evidence, because special software
is typically required for that task. However, it is technically

possible to delete this information.

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) Similarly, files that have been viewed via
the Internet are sometimes automatically downloaded into a

temporary Internet directory or "cache."

bs Forensic evidence. As further described in
Attachment B, this application seeks permission to locate not
only computer files that might serve as direct evidence of the
crimes described on the warrant, but also for forensic
electronic evidence that establishes how computers were used,
the purpose of their use, who used them, and when. There is
probable cause to believe that this forensic electronic evidence

will be on any storage medium in the premises because:

(1) Data on the storage medium can provide
evidence of a file that was once on the storage medium but has
since been deleted or edited, or of a deleted portion of a file
(such as a paragraph that has been deleted from a word
processing file). Virtual memory paging systems can leave traces
of information on the storage medium that show what tasks and
processes were recently active. Web browsers, e-mail programs,
and chat programs store configuration information on the storage
medium that can reveal information such as online nicknames and
passwords. Operating systems can record additional information,
such as the attachment of peripherals, the attachment of USB

flash storage devices or other external storage media, and the

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times the computer was in use. Computer file systems can record
information about the dates files were created and the sequence
in which they were created, although this information can later

be falsified.

(2) Forensic evidence on a computer or storage
medium can also indicate who has used or controlled the computer
or storage medium. This "user attribution" evidence is
analogous to the search for "indicia of occupancy" while
executing a search warrant at a residence. For example,
registry information, configuration files, user profiles, e-
mail, e-mail address books, "chat," instant messaging logs,
photographs, the presence or absence of malware, and
correspondence (and the data associated with the foregoing, such
as file creation and last-accessed dates) may be evidence of who
used or controlled the computer or storage medium at a relevant

time.

(3) A person with appropriate familiarity with
how a computer works can, after examining this forensic evidence
in its proper context, draw conclusions about how computers were

used, the purpose of their use, who used them, and when.

(4) The process of identifying the exact files,
blocks, registry entries, logs, or other forms of forensic
evidence on a storage medium that are necessary to draw an

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accurate conclusion is a dynamic process. While it is possible
to specify in advance the records to be sought, computer
evidence is not always data that can be merely reviewed by a
review team and passed along to investigators. Whether data
stored on a computer is evidence may depend on other information
stored on the computer and the application of knowledge about
how a computer behaves. Therefore, contextual information
necessary to understand other evidence also falls within the

scope of the warrant.

(5) Further, in finding evidence of how a
computer was used, the purpose of its use, who used it, and
when, sometimes it is necessary to establish that a particular
thing is not present on a storage medium. For example, the
presence or absence of counter-forensic programs or anti-virus
programs (and associated data) may be relevant to establishing

the user's intent.

34. Necessity of seizing or copying entire computers or
storage media. In most cases, a thorough search of a premises
for information that might be stored on storage media often
requires the seizure of the physical storage media and later
off-site review consistent with the warrant. In lieu of removing
storage media from the premises, it is sometimes possible to

make an image copy of storage media. Generally speaking,

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imaging is the taking of a complete electronic picture of the
computer's data, including all hidden sectors and deleted files.
Either seizure or imaging is often necessary to ensure the
accuracy and completeness of data recorded on the storage media,
and to prevent the loss of the data either from accidental or

intentional destruction. This is true because of the following:

a. The time required for an examination. As noted
above, not all evidence takes the form of documents and files
that can be easily viewed on site. Analyzing evidence of how a
computer has been used, what it has been used for, and who has
used it requires considerable time, and taking that much time on
premises could be unreasonable. As explained above, because the
warrant calls for forensic electronic evidence, it is
exceedingly likely that it will be necessary to thoroughly
examine storage media to obtain evidence. Storage media can
store a large volume of information. Reviewing that information
for things described in the warrant can take weeks or months,
depending on the volume of data stored, and would be impractical

and invasive to attempt on-site.

b. Technical requirements. Computers can be
configured in several different ways, featuring a variety of
different operating systems, application software, and

configurations. Therefore, searching them sometimes requires

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tools or knowledge that might not be present on the search site.
The vast array of computer hardware and software available makes
it difficult to know before a search what tools or knowledge
will be required to analyze the system and its data on the
premises. However, taking the storage media off-site and
reviewing it in a controlled environment will allow its

examination with the proper tools and knowledge.

a. Variety of forms of electronic media. Records
sought under this warrant could be stored in a variety of
storage media formats that may require off-site reviewing with

specialized forensic tools.

35. Nature of examination. Based on the foregoing, and
consistent with Rule 41(e)(2)(B), the warrant I am applying for
would permit seizing, imaging, or otherwise copying storage
media that reasonably appear to contain some or all of the
evidence described in the warrant, and would authorize a later
review of the media or information consistent with the warrant.
The later review may require techniques, including but not
limited to computer-assisted scans of the entire medium, that
might expose many parts of a hard drive to human inspection in
order to determine whether it is evidence described by the

Warrant.

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36. Based on the foregoing, I believe there is probable
cause to believe that evidence, contraband, fruits of a crime,
other items illegally possessed as well as property designed for
use, intended for use, or used in committing violations of

federal law exists and can be found at the following location:

a. The residence located at 1229 Sunnyview Avenue,
Dayton, Ohio, including any garages, vehicles, storage lockers,
cabinets, sheds, closets or outbuildings at this location. 1229
Sunnyview Avenue, Dayton, Ohio is more fully described in
Attachment A, and Attachment A is incorporated herein by

reference.
Further affiant sayeth naught,

AACE _—

Lance Kepple
Special Agent

Federal Bureau of Investigation

day of September, 2015.

 

 

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Attachment A

 

Address

1229 SUNNYVIEW AVE, DAYTON, OH 45406, including any including any
garages, vehicles, storage lockers, cabinets, sheds, closets or
outbuildings at this location. The property is more fully described as a
residence located on a private drive that is shared by several other
homeowners. The exterior of the residence is brick with dormers on the
roof. It should be noted that stone pillars have been added te the front
door. In addition, the walkway between the house and garage has recently
been enclosed and covered with stone that matches the front door pillars.
The new room is accessible from the outside through French doors. Other
recent upgrades to the property include patio pavers and a concrete
basketball court. The residence is depicted above.
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ATTACHMENT B

ITEMS TO BE SEIZED
Evidence of a crime, contraband or fruits of a crime, and
property designed for use, intended for use, or used in
committing a crime - namely, violations of 18 U.S.C. § 666
(theft or bribery concerning programs receiving federal funds)
Items to be seized include, but are not limited to, the
following documents and records whether in paper form or in the

form of computerized electronic data, covering the period
beginning January 1, 2010 through the present time:

ly The actual goods and home improvements that

Williams received from CHS-5.

2 Ledgers, books, spreadsheets, journals or other
records documenting payments received, services provided, or
other benefits that Williams may have accepted in exchange for
attempting to influence the decisions of his government

agencies.

3. Invoices, receipts, plans, drawings, brochures or
other documentation concerning, reflecting, or relating to, the
home improvement project that CHS-5 completed at Williams’s

residence, including payments to subcontractors.

4, Any documentation, including e-mails, text
messages, letters, reflecting any communications between
Williams and any City of Dayton employee or officials, including
City of Dayton component CityWide, concerning CHS-5’s company or

CHE-S.
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B. Telephone (both landline and cellular) records,
including, but not limited to, billing information, toll
records, identity of service providers, and form of payment for

those services.

6. Bank statements, credit card statements, tax
records, check ledgers, or any other financial record reflecting
income, spending patterns, purchases, cash transactions, etc.

7. Bulk cash ($500 or more).

8. Contact lists, address books, rolodex that

identify persons with whom Williams has contact.

9. City of Dayton documents, including, but not
limited to, rules of conduct for employees or city officials,
bid proposals on city contracts, information concerning past,

pending, or future contracts or bids for city projects or work.

10. Records, receipts, binders, photographs, or any
documentation of any work (including but not limited to,
repairs, construction, painting, demolition or other home

improvements) performed at 1229 Sunnyview Avenue, Dayton, Ohio.

ll. Documentation or records reflecting indicia of

ownership and occupancy at 1229 Sunnyview Avenue, Dayton, Ohio.

12. Documentation concerning any business entities or

ventures that could potentially generate income for Williams.

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14. Keys to, records for, or documents concerning

safe deposit boxes or storage facilities.

15. Any and all of the information described above
that may be stored on magnetic media. This includes information
stored on computer hard drive, diskettes, tapes, USB drives or
any other media capable of storing information in a font
readable by a computer. This also includes all copies of the
information described above that may be stored on such media as
archive or backup copies. The agents searching for such
information are authorized to search:

a. Computer system hardware, including: word
processing equipment, modems, printers, plotters, encryption
circuit boards, optical scanners, personal digital assistants,
cell phones, and other computer related devices, and software
including floppy disks and any other medium which is capable of
storing magnetic tape or optical coding, software programs, and
any other programs, or software used to communicate with
computer hardware or peripherals either directly or indirectly
via telephone lines, radio, or other means of transmission,
computer manuals relating to the operation of a computer system,
computer software, and/or any related device;

Bs The computer system hard drive and/or

server; and associated electronic storage media to include, but
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not limited to the following: floppy diskettes, CD-ROMs, optical
disks, and other removable storage media. If possible, a mirror-
image electronic copy of the entire storage device will be made
at subject search locations and then later be recreated to a
working copy of the storage device off-site for review. In the
event that the agents cannot, for technical reasons, obtain
access to any subject computer or cannot search for or copy
information contained on that computer, whether this be
technically too difficult or time consuming, the agents are then
seeking authorization to seize such computers and remove them
from the premises for a sufficient period of time to obtain
access to, search for, and recover the files and review its
contents off-site. In addition, if the files and records cannot
be read and understood without the software or programs that
created those files or records, the agents are authorized to
seize such software and any documentation and manuals that
describe the software and give instructions on its installation
and use. The agents searching for such information are
authorized to search: (a) Any desktop or other "personal
computer" in the residence or office, to copy all of the above
referenced information stored on such computer(s) or accessible
through such computers, if connected to other computers through
a network of computers, and diskettes or tapes found in such

offices or work area; (b) Any file, storage area or directory on

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a network server to copy any and all of the above described
information that may be found on such computer, and any
diskettes or tapes that may contain such information; and (c)
Any other storage area of any file server or computer, which the
information described above, might be found or stored. The
search of such computers or storage areas of such computers
shall be limited to seeking information that fit within the
above-described information.

Ge In the event that the agents cannot, for
technical reasons, obtain access to any subject computer or
cannot search for or copy information contained on that
computer, the agents are then authorized to seize such computer
and remove it to a laboratory setting for a sufficient period of
time to obtain access to, search for, and recover the files and
records described herein. In addition, if the files and records
cannot be read and understood without the software or programs
that created those files or records, the agents are authorized
to seize such software and any documentation and manuals that
describe the software and give instructions on its installation

and use.
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ATTACHMENT C

 
